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                                                                          6                             IN THE UNITED STATES DISTRICT COURT
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                                                                                                  FOR THE NORTHERN DISTRICT OF CALIFORNIA
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                                                                         10   BOARD OF TRUSTEES OF CITY OF HIALEAH                No. C 11-05692 WHA
                                                                         11   EMPLOYEES’ RETIREMENT SYSTEM,
United States District Court




                                                                              derivatively on behalf of Diamond Foods, Inc.,
                                                                                                                                  ORDER DENYING MOTION TO
                               For the Northern District of California




                                                                         12                Plaintiff,                             ADJOURN CASE MANAGEMENT
                                                                         13                                                       CONFERENCE
                                                                                v.
                                                                         14   MICHAEL J. MENDES, et al.,
                                                                         15                Defendants.
                                                                         16     and
                                                                         17   DIAMOND FOODS, INC.
                                                                         18                Nominal Defendant.
                                                                         19                                                   /

                                                                         20   DAVE LUCIA, derivatively on behalf of Diamond       No. C 11-06417 WHA
                                                                              Foods, Inc.,
                                                                         21                Plaintiff,
                                                                         22     v.
                                                                         23   LAURENCE M. BAER, et al.,
                                                                         24                Defendants.
                                                                         25     and
                                                                         26   DIAMOND FOODS, INC.
                                                                         27                Nominal Defendant.
                                                                         28                                                   /
                                                                          1          Defendants have filed a motion for administrative relief to adjourn the case management
                                                                          2   conference. Plaintiffs oppose. The case management conference will proceed as scheduled. The
                                                                          3   case management issues raised by plaintiffs in their opposition brief will be addressed at the case
                                                                          4   management conference. The motion to adjourn the case management conference is DENIED.
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                                                                          6          IT IS SO ORDERED.
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                                                                          8   Dated: February 14, 2012.
                                                                                                                                   WILLIAM ALSUP
                                                                          9                                                        UNITED STATES DISTRICT JUDGE
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United States District Court
                               For the Northern District of California




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